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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              STATESBORO DIVISION

BETTY WELDON,                                )
                                             )
        Plaintiff,                           )
                                             )
v.                                           )        CIVIL ACTION
                                             )        FILE NO. CV 622-033
WALMART, INC                                 )
                                             )
        Defendant.                           )

                                   NOTICE OF REMOVAL

        Defendant Walmart Inc1. (hereinafter “the Walmart defendant”) file this Notice of

Removal within the time prescribed by law and invoke this Court’s jurisdiction over this matter,

showing the Court as follows:

                        Plaintiff’s Claims and Procedural Background

                                                 1.

        Plaintiff filed suit against the above-named Defendant on January 12, 2022 by filing the

original Summons and Complaint (“Plaintiff’s Complaint”) in the Superior Court of Bulloch

County, Georgia (Civil Action File No. SUCV2022000006). A copy of Plaintiff’s Complaint is

attached in composite Exhibit “A”.

                                                 2.

        In her complaint, Plaintiff alleged that Walmart Inc owned property located at 349

Bampton Avenue, Statesboro, Georgia 30458 and as such, venue and jurisdiction were proper in

that court.




1
 A consent motion and proposed order to substitute proper party Walmart Stores East LP is
pending before the Superior Court of Bulloch County.
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                                                 3.

       Plaintiff alleged that on November 6, 2020, she slipped and fell on a substance in the

produce department at the store located on Bampton Avenue. She alleged that she was an invitee

at said store and Defendant breached its duties to Plaintiff by allowing a dangerous condition to

exist on the property, which caused her to slip and fall.

                                                 4.

       While the case was pending in Bulloch State Court, Defendant served Plaintiff

Interrogatories and Requests for Production of Documents. Plaintiff responded to that written

discovery on April 19, 2022. A copy of the 5.2 Certificate is attached in composite Exhibit “A”.

In response to Defendant’s Interrogatories, Plaintiff claims medical expenses in excess of

$90,000.00 and lost wages in the amount of $27,000.00. A copy of Plaintiff’s Interrogatory

responses is attached as Exhibit “C”.

                                                 5.

       Defendants first became aware of the amount in controversy when it received Plaintiff’s

responses to Defendant’s interrogatories and requests for production of documents or on April

19, 2022.

                                                 6.

       Therefore, Defendants have timely removed this case under 28 U.S.C.A. §1446(b)(3)

which provides that “if the case stated by the initial pleading is not removable, a notice of

removal may be filed within 30 days after receipt by the defendant, through service or otherwise,

of a copy of an amended pleading, motion, order or other paper from which it may first be

ascertained that the case is one which is or has become removable.”




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                                      Citizenship of Walmart

                                                  7.

       Wal-Mart Stores, Inc. is an Arkansas Corporation whose primary business office is in

Arkansas. (Exhibit “D”). Walmart Stores, Inc. is not a citizen of the State of Georgia and was

not at the time of the filing and service of said lawsuit, or at any other relevant time.2

                                                  7.

       Removal is appropriate pursuant to 28 U.S.C. § 1441 and 28 U.S.C. §§ 1332 (a) because

(1) Plaintiff is a citizen of Georgia; (2) the Walmart, Inc. and Walmart Stores East, LP are

Arkansas or Delaware entities whose principal offices are in Arkansas; and (3) the amount in

controversy exceeds the sum of $75,000.00.

                                                  8.

       This removal is timely because it has been filed within thirty (30) days after receipt by

the Walmart Defendants of the information showing that the amount in controversy is in excess

of $75,000.00.

                                                  9.

       Pursuant to the provisions of 28 U.S.C. §§1446, Defendant attaches hereto as Composite

Exhibit “A”, copies of all pleadings and orders served upon Defendants, including copies of all

pleadings filed to date in the Superior Court of Bulloch County Georgia for the above-styled

case. Defendant’s Answer is attached as Exhibit “B”.




2
  Walmart Stores East, LP would be the proper defendant in this case as it was responsible for
the day-to-day operations of the subject store. Walmart Stores East, LP is a Delaware limited
partnership. WSE Management, LLC is the general partner of Walmart Stores East, and WSE
Investment, LLC is the sole limited partner of Walmart Stores East, LP. Wal-Mart Stores East
LP is not a citizen of the State of Georgia, and was not at the time of the filing and service of
said lawsuit, or at any other relevant time.
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                                                10.

        Pursuant to 28 U.S.C. § 1447 Defendant is not required to file a removal bond.

                                                11.

        By service of a copy of this Notice of Removal as evidenced by the Certificate of Service

attached, Defendants hereby give notice of such removal to Plaintiff as required by 28 U.S.C. §

1446.

                                                12.

        A true and correct copy of this Notice of Removal will be filed with the Clerk of Superior

Court of Bulloch County, Georgia as required by 28 U.S.C. §1446.

        Wherefore, Defendant prays that the above captioned lawsuit be removed to the United

States District Court for the Southern District of Georgia, Statesboro Division, that this Court

take cognizance and jurisdiction over this claim from the Superior Court of Bulloch County,

Georgia, and that this action shall proceed as removed and under this Court’s jurisdiction under

28 U.S.C. 1332.

        Respectfully submitted, this 11th day of May, 2022.

                                              DREW, ECKL & FARNHAM, LLP

                                              /s/ Garret W. Meader
                                              Garret W. Meader
                                              Georgia Bar No. 142402
                                              Leslie P. Becknell
                                              Georgia Bar No. 046320
                                              Ann H. Searcy
                                              Georgia Bar No. 633302
                                              Attorneys for Defendant
777 Gloucester Street
Suite 305
Brunswick, GA 31520
912-280-0654
gmeader@deflaw.com
lbecknell@deflaw.com
searcya@deflaw.com

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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              STATESBORO DIVISION

BETTY WELDON,                                )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )         CIVIL ACTION
                                             )         FILE NO.
WALMART, INC                                 )
                                             )
       Defendant.                            )


                                CERTIFICATE OF SERVICE

       This is to certify that I have this day forwarded, via United States Mail, postage prepaid,

and with the Court’s CM/ECF system, as prescribed by the Court, which will automatically send

electronic notification of same to following counsel of record a true and correct copy of the

foregoing Notice of Removal to the following counsel of record, addressed as follows:

                                     Matthew J. Grossman
                                      Farah & Farah, P.A.
                                     10 West Adams Street
                                  Jacksonville, Florida 32202
                                 mgrossman@farahandfarah.com


       This 11th day of May, 2022.

                                             DREW, ECKL & FARNHAM, LLP

                                             /s/ Garret W. Meader
                                             Garret W. Meader
                                             Georgia Bar No. 142402
                                             Leslie P. Becknell
                                             Georgia Bar No. 046320
                                             Ann H. Searcy
                                             Georgia Bar No. 633302
                                             Attorneys for Defendant
777 Gloucester Street
Suite 305

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Brunswick, GA 31520
912-280-0654
gmeader@deflaw.com
lbecknell@deflaw.com
searcya@deflaw.com




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